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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       M ARSHALL DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §           CASE NO. 2:06CR7(1)
                                                    §
 STEPHEN DORSETT MORTON                             §


               ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                         FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

 violation of Title 21, USC, Section 841(a)(1). Having conducted a proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea

 of the Defendant. No objections to the Findings of Fact and Recommendation have been filed. The Court

 is of the opinion that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

 Magistrate Judge, filed July 12, 2006, are hereby ADOPTED.

        It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of Count 1 of the Indictment in the above-numbered cause.

         SIGNED this 8th day of August, 2006.



                                                 __________________________________________
                                                 T. JOHN WARD
                                                 UNITED STATES DISTRICT JUDGE
